            Case 23-12955-pmm                        Doc             Filed 08/21/24 Entered 08/21/24 18:51:27                    Desc Main
                                                                     Document      Page 1 of 6
 Fill in this information to identify the case:
Debtor 1 Steven J. Gibson
Debtor 2 (Spouse, if filing)

United States Bankruptcy Court for the: Eastern District of Pennsylvania
                                                           (State)

Case number 23-12955-pmm




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                 12/15
If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor’s principal
residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to your proof of claim at
least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1
 Name of Creditor: Nationstar Mortgage LLC                                          Court Claim No. (if known): 7
 Last four digits of any number                                                     Date of Payment Change:                        October 1, 2024
 you use to identify the debtor's                 XXXXXX8403                        Must be at least 21 days after date of
 account:                                                                           this notice.
                                                                                    New total payment:                             $686.95
                                                                                    Principal, interest, and escrow, if any


 Part 1:          Escrow Account Payment Adjustment

 1.    Will there be a change in the debtor's escrow account payment?

       No.
       Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
       the basis for the change. If a statement is not attached, explain why:



             Current escrow payment: $273.36                                        New escrow payment: $195.35


 Part 2:          Mortgage Payment Adjustment

 2.    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate in the debtor’s variable-rate
       account?

       No.
       Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a statement is not
       attached, explain why:

             Current interest rate: ____________                                    New interest rate: ____________


             Current principal and interest payment:                                New principal and interest payment:
 Part 3:         Other Payment Change

 3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?

      No
      Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
       (Court approval may be required before the payment change can take effect.)
           Reason for change:


             Current mortgage payment:                                              New mortgage payment:




Official Form 410S1                                          Notice of Mortgage Payment Change                       Page 1
          Case       23-12955-pmm                  Doc          Filed 08/21/24 Entered 08/21/24 18:51:27
Debtor 1 Steven J. Gibson____________________________ Case number (if known) ___23-12955-pmm_______________________
           First Name  Middle Name Last Name
                                                                                                                               Desc Main
                                                                Document      Page 2 of 6
 Part 4:          Sign Here

 The person completing this notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

 Check the appropriate box

      I am the creditor.
      I am the creditor’s authorized agent.
 I declare under penalty of perjury that the information in this Notice is true and correct to the best of my knowledge,
 information, and reasonable belief.

 X        /s/ Christopher A. DeNardo                                                          Date:   08/21/2024
          Signature



                       Christopher A. DeNardo 78447
                       Heather Riloff - 309906
 Print:                Leslie J. Rase, 58365                                                  Title Attorney for Creditor
                       First Name                Middle Name             Last Name


 Company               LOGS Legal Group LLP


 Address               985 Old Eagle School Road, Suite 514
                       Number           Street


                       Wayne, PA 19087
                       City                                      State     ZIP Code


 Contact phone         (610) 278-6800                                                         Email logsecf@logs.com




Official Form 410S1                                            Notice of Mortgage Payment Change                      Page 2
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                                                  Certificate of Service

I hereby certify that a copy of the foregoing Notice of Mortgage Payment Change was caused to be served on the parties listed
below by postage prepaid U.S. Mail, First Class or served electronically through the Court’s ECF System at the e-mail address
registered with the Court on this Date:

       08/21/2024
Date: _____________________________


Chapter 13 Trustee: Kenneth E. West, Office of the Chapter 13 Standing Trustee
Trustee Address: 1234 Market Street - Suite 1813, Philadelphia, PA 19107
Trustee Email: ecfemails@ph13trustee.com


Debtor's Counsel Name: Michael A. Cibik, Esquire, Cibik Law, P.C.

Debtor's Counsel Address: 1500 Walnut Street, Suite 900, Philadelphia, PA 19102

Debtor's Counsel Email: mail@cibiklaw.com
Debtor’s Name: Steven J. Gibson

Debtor's Mailing Address: 4307 Mantua Ave, Philadelphia, PA 19104

Debtor’s Email:




                                                                         /s/ Christopher A. DeNardo
                                                                        Christopher A. DeNardo 78447
                                                                        Heather Riloff - 309906
                                                                        Leslie J. Rase, 58365
          Case 23-12955-pmm                    Doc        Filed 08/21/24 Entered 08/21/24 18:51:27                               Desc Main
                                                          Document      Page 4 of 6
 mr.                                                                               07/31/2024                 OUR INFO

COO                     er
CHANGING THE FACE OF HOME LOANS
                                     RETURN SERVICE ONLY
                                     PLEASE DO NOT SEND MAIL TO THIS ADDRESS
                                     PO Box 818080
                                     5801 Postal Road
                                     Cleveland, OH 44181
                                                                                                              ONLINE
                                                                                                              www.mrcooper.com


                                                                                                              YOU!? INFO
                                                                                                              CASE NUMBER
                                                                                                              2312955

                                                                                                              LOAN NUMBER
STEVEN GIBSON
4307 MANTUA AVE
                                                                                                              PROPERTY ADDRESS
PHILADELPHIA,PA 19104
                                                                                                              4307 MANTUA AVENUE
                                                                                                              PHILADELPHIA, PA 19104




Dear STEVEN GIBSON,

An annual escrow analysis was performed on the above referenced account.

Our records indicate your loan is currently in an active bankruptcy proceeding. The enclosed escrow account disclosure
statement is for informational purposes only and should not be construed as an attempt to collect a debt.

If you are represented by an attorney in your bankruptcy, please forward a copy of this letter to such attorney and provide such
attorney's name, address and telephone number to us.

If you have any questions, please call our Bankruptcy Department at 877-343-5602. Our hours of operation are Monday through
Friday from 8 a.m. to 5p.m. (CT). Visit us on the web at www.mrcooper.com for more information.

Sincerely,

Mr. Cooper

Enclosure




Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.
Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
recover a claim against, or demand payment from, any individual protected by the US. Bankruptcy Code. If this account has been
discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to collect a
debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property securing the loan
obligation, including the right to foreclose its lien under appropriate circumstances. Nothing in this communication shall be construed as an
attempt to collect against the borrower personally or an attempt to revive personal liability.                                                 EquAL HOUSING
                                                                                                                                               OPPORTUNITY
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the
loan) that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an
attempt to collect a debt from you personally.

                                                                                                                                                    DAL
           Case 23-12955-pmm                       Doc         Filed 08/21/24 Entered 08/21/24 18:51:27                                     Desc Main
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 mr.                                                                                                Escrow Account Disclosure Statement

COO                       e
CHANGING THE FACE OF HOME LOANS
                                        RETURN SERVICE ONLY
                                        PLEASE DO NOT SEND MALL TO THIS ADDRESS
                                        PO Box 818080
                                        5801 Postal Road
                                        Cleveland. OH 44181
                                                                                                    Customer Service: 888-480-2432
                                                                                                    Monday through Thursday from 7 a.m. to 8 p.m. (CT),
                                                                                                    Friday from 7 a.m. to 7 p.m. (CT) and Saturday from 8 a.m.
                                                                                                    to 12 p.m. (CT)


                                                                                                    Tax/Insurance: 866-825-9267
                                                                                                    Monday through Thursday from 8 a.m. to 9 p.m. (ET),
                                                                                                    Friday from 8 a.m. to 7 p.m. (ET) and Saturday from 9 a.m.
                                                                                                    to 3 p.m. (ET)
 STEVEN GIBSON
 4307 MANTUA AVE                                                                                    Your Loan Number:
 PHILADELPHIA,PA 19104                                                                              Statement Date: 07/31/2024




        Why ant I            Mr_ Cooper completed an analysis of your escrow account to ensure that the account is funded correctly, determine any surplus or
   receiving this?           shortage, and adjust your monthly payment accordingly. Mr. Cooper may maintain an escrow cushion equal to two months'
                             estimated taxes and insurance (unless limited by your loan documents or state law). This measure helps to avoid negative balance
                             in the event of changing tax and insurance amounts.

    What does this         At this time, your Escrow Account has less money than needed and there is a shortage of $0.00. Due to this shortage and changes in
    meanfbr me?            your taxes and insurance premiums, your monthly escrow payment will decrease by ($78.01). Effective 10/01/2024, your
                           new total monthly payment" will be $688.95.
                                                                    Current Monthly                                                       New Monthly
  Total Payment                                                                                   Payment Changes
                                                                              Payment                                                           Payment
  PRINCIPAL AND INTEREST                                                         $491.60                            $0.00                         $491.60
  ESCROW                                                                         $273.36                         ($78.01)                          $195.35
  Total Payment                                                                 $764.96                         ($78.01)                         $686.95
  See belowfor shortage calculation
 What is a S7tartage?A shortage is the difference between the lowest projected balance of your account for the coming year and your minimum
 required balance. To prevent a negative balance, the total annual shortage is divided by 12 months and added to your monthly escrow payment, as shown
 below.


                    Minimum Required Balance                                                                      Lowest Projected Balance
                            $390.70                                                                                        $390.70


                                                                        $0.00/12 = $0.00
                                    Please see the Coming Year Projections table on the back far more details
  Escrow Payment                                                               Current Annual                                                 Anticipated Annual
                                                                                                                  Annual Change
  Breakdown                                                                     Disbursement                                                       Disbursement
  CITY TAX                                                                                $740.49                               $0.00                          $740.49
  HAZARD SFR                                                                             $2,539.82                          ($936.16)                         $1,603.66
  Annual Total                                                                          $3,280.31                          ($936.16)                         $2,344.15
If you have questions about changes to your property taxes or homeowners' insurance premiums, please contact your local taxing authority or insurance provider. For more
information about your loan, please sign in at unetamreciopercom.




Mr. Cooper is a brand name for Nationstar Mortgage LLC. Nationstar Mortgage LLC is doing business as Nationstar Mortgage LLC d/b/a Mr.
Cooper. Mr. Cooper is a registered service mark of Nationstar Mortgage LLC. All rights reserved.
Please be advised this communication is sent for informational purposes only and is not intended as an attempt to collect, assess, or
recover a claim against, or demand payment from, any individual protected by the U.S. Bankruptcy Code. If this account has been
discharged in a bankruptcy proceeding, be advised this communication is for informational purposes only and not an attempt to
collect a debt against you; however, the servicer/lender reserves the right to exercise the legal rights only against the property
securing the loan obligation, including the right to foreclose Its lien under appropriate circumstances. Nothing in this communication
shall be construed as an attempt to collect against the borrower personally or an attempt to revive personal liability.                              EOUAL HOUSING
                                                                                                                                                     OPPORTUNITY
If you are a successor in interest (received the property from a relative through death, devise, or divorce, and you are not a borrower on the loan)
that has not assumed, or otherwise become obligated on the debt, this communication is for informational purposes only and is not an attempt to
collect a debt from you personally.




                                                    This Area Intentionally Left Blank
                                                    This statement is for informational purposes only.




                                                                                                                                                                           60-3
           Case 23-12955-pmm                       Doc       Filed 08/21/24 Entered 08/21/24 18:51:27                                      Desc Main
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The change in your escrow payment** may be based on one or more of the following factors:
PAYMENT(S)                                                TAXES                                                   INSURANCE
• Monthly payment(s) received were less than              • Tax rate and/or assessed value changed                • Premium changed
   or greater than expected                               • Exemption status lost or changed                      • Coverage changed
• Monthly payment(s) received earlier or later            • Supplemental/Delinquent tax paid                      • Additional premium paid
   than expected                                          • Paid earlier or later than expected                   • Paid earlier or later than expected
• Previous overage returned to escrow                     • Tax installment not paid                              • Premium was not paid
• Previous deficiency/shortage not paid entirely          • Tax refund received                                   • Premium refund received
                                                          • New tax escrow requirement paid                       • New insurance escrow requirement paid
                                                                                                                  • Force placed insurance premium paid

                                               Prior Year Account History and Coming Year Projections
This is a statement of the actual activity in your escrow account from 10/23 through 09/24. This statement itemizes your actual
escrow account transactions since your previous analysis statement or initial disclosure, and projects payments, disbursements, and
balances for the coming year. The projections from your previous escrow analysis are included with the actual payments and disbursements for the prior
year. By comparing the actual escrow payment with the previous projections listed, you can determine where a difference may have occurred. When applicable,
the letter 'E' beside an amount indicates that a payment or disbursement has not yet occurred but is estimated to occur as shown.

Projections are included to ensure sufficient funds are available to pay your taxes and/or insurance for the coming year.Under Federal
Law (RESPA), the lowest monthly balance in your escrow account should be no less than $390.70 or 1/6th of the total annual projected disbursement from
your escrow account, unless your mortgage documents or state law specifies otherwise. Your projected estimated lowest account balance of $390.70 will be
reached in March 2025. When subtracted from your minimum required balance of $390.70, an Escrow Shortage results in the amount of $0.00. These
amounts are indicated with an arrow (<).
This escrow analysis is based on the assumption that all escrow advances made on your loan prior to your bankruptcyfiling date are included
in your bankruptcy plan and will be paid in the plan. This analysis considers insurance, taxes and other amounts that will come due after the
filing of your bankruptcy case.


            Projected          Actual              Projected             Actual                         Description                     Projected            Actual
Month       Payment           Payment            Disbursement         Disbursement                                                       Balance            Balance
                                                                                                             Start                      $2,186.87         ($3,728.53)
 10/23         $273.36         $273.36E                    $0.00                 $0.00                                                     $2,460.23        ($3,455.17)
 11/23         $273.36         $490.25E                    $0.00                 $0.00                                                     $2,733.59       ($2,964.92)
 12/23         $273.36         $490.25E                    $0.00                 $0.00                                                     $3,006.95       ($2,474.67)
 01/24         $273.36         $490.25E                    $0.00                 $0.00                                                     $3,280.31       ($1,984.42)
 02/24         $273.36          $507.33                    $0.00             $740.49*       *             CITY TAX                         $3,553.67        ($2,217.58)
 02/24          $0.00            $0.00                     $0.00            $2,742.84*      •            HAZARD SFR                        $3,553.67       ($4,960.42)
 03/24         $273.36          $507.33                  $740.49                 $0.00                    CITY TAX                         $3,086.54       ($4,453.09)
 03/24          $0.00            $0.00                 $2,539.82                 $0.00                   HAZARD SFR                          $546.72       ($4,453.09)
 04/24         $273.36         $741.30E                    $0.00                 $0.00                                                       $820.08         ($3,711.79)
 05/24         $273.36         $507.33E                    $0.00                 $0.00                                                     $1,093.44       ($3,204.46)
 06/24         $273.36         $273.36E                    $0.00                 $0.00                                                     $1,366.80       ($2,931.10)
 07/24         $273.36         $507.33E                    $0.00                 $0.00                                                     $1,640.16        ($2,423.77)
 08/24         $273.36         $273.36E                    $0.00                 $0.00                                                     $1,913.52        ($2,150.41)
 08/24          $0.00         $2,223.90E                   $0.00                 $0.00          Anticipated Payments 01/23-09/23           $1,913.52             $73.4-9
 09/24         $273.36         $273.36E                    $0.00                 $0.00                                                     $2,186.88            $346.85
 Total        $3,280.32       $7,558.71               $3,280.31             $3,483.33                        Total                        $2,186.88          $346.85
                                                                                                                                          Current         Required
            Projected                             .Projected                                            Description                                        Balance
            Payment                              Disbursement                                                                             Balance         Projected
Month
                                                                                                             Start                        $346.85            $346.85
 10/24           $195.35                                   $0.00                                                                             $542.20         $542.20
 10/24         $1,215.90                                   $0.00                                            BK ADJ                          $1,758.10       $1,758.10
 11/24           $195.35                                   $0.00                                                                            $1,953.45       $1,953.45
 12/24           $195.35                                   $0.00                                                                            $2,148.80       $2,148.80
 01/25           $195.35                                   $0.00                                                                            $2,344.15       $2,344.15
 02/25           $195.35                                   $0.00                                                                            $2,539.50       $2,539.50
 03/25           $195.35                                $740.49                                           CITY TAX                          $1,994.36       $1,994.36
 03/25             $0.00                               $1,603.66                                         HAZARD SFR                           $390.70       $390.70<
 04/25           $195.35                                   $0.00                                                                              $586.05         $586.05
 05/25           $195.35                                   $0.00                                                                              $781.40         $781.40
 06/25           $195.35                                   $0.00                                                                              $976.75         $976.75
 07/25           $195.35                                   $0.00                                                                            $1172.10        $1,172.10
 08/25           $195.35                                   $0.00                                                                            $1,367.45       $1,367.45
 09/25           $195.35                                   $0.00                                                                            $1,562.80       $1,562.80
 Total        $3,560.10                               $2,344.15                                              Total                        $1,562.80        $1,562.80
Bankruptcy Adjustment- The Prior Year Account History and Coming Year Projections section of the Annual Escrow Account Disclosure Statement may
contain a line item called "Bankruptcy Adjustment". This amount is a credit based upon the unpaid portion of the escrow funds listed on the proof of claim to
be paid through the Chapter 13 plan. The amount of the credit is calculated and applied to reach the minimum required balance for the escrow account as
allowed under the loan documents and applicable non-bankruptcy law. The credit may not represent the total outstanding amount of escrow funds owed in the
proof of claim but ensures that any escrow funds listed on the proof of claim to be paid through the plan will not be collected through the escrow shortage or
surplus listed in the Annual Escrow Account Disclosure Statement. In some instances, only a portion of the proof of or surplus listed in the Annual Escrow
Account Disclosure Statement. In some instances, only a portion of the proof of claim escrow funds are listed as a credit to reach the required minimum
account balance.

You will receive an Annual Escrow Account Disclosure Statement reflecting the actual disbursements at the end of the next escrow analysis cycle. However,
you should keep this statement for your own records for comparison. If a previous escrow analysis statement was sent to you by your previous servicer, please
refer to that statement for comparison purposes. If you have any questions, please call Christopher Morato at (866)-316-2432. Our hours of operation are
Monday through Friday from 8 a.m. to 5 p.m. (CT). Visit us on the web at www.mrcooper.com for more information.
Note: Any disbursements listed after the date of this statement are assumed to be projected or estimated.
